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                IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF TEXAS
                         SHERMAN DIVISION

  CHRISTIAN GARCIA-ALVAREZ, on
  behalf of himself and those similarly
  situated,
                                                     CIVIL ACTION FILE NO:
        Plaintiffs,
  v.                                                    4:21-cv-124-ALM

  FOGO DE CHAO CHURRASCARIA
  (PITTSBURGH) LLC, et al.,

       Defendants.

   PLAINTIFF’S MOTION FOR CONDITIONAL CERTIFICATION OF
      AN FLSA COLLECTIVE ACTION AND MEMORANDUM IN
                         SUPPORT


       Plaintiff Christian Garcia-Alvarez files this Motion for Certification of

Collective Action, and as grounds thereof, states:

       1.    Section 16(b) of the Fair Labor Standards Act of 1938 (“FLSA”)

provides, among other things, that an action to recover unpaid minimum wages or

unpaid overtime compensation may be maintained against any employer in any

federal or state court of competent jurisdiction by any one or more employees for

and on behalf of himself or themselves and other employees similarly situated. See

29 U.S.C. § 216(b).

       2.    As stated in Plaintiff’s Amended Complaint, Plaintiff worked as a
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Churrasqueiro/Carver employed by Defendant and is authorized by the FLSA to sue

in his own name on behalf of himself and other employees similarly situated.

      3.     The similarly situated employees (“class members”) consist of the

following positions:

      All carvers (churrasqueiros) who worked for Defendants nationwide
      and were paid pursuant to the “tip credit” (less than minimum wage
      plus tips) during the last three (3) years preceding this lawsuit.

      4.     While Plaintiff believes nationwide certification is appropriate here, if

the Court finds otherwise, Plaintiff proposes that the Court certify a class of

churrasqueiros who worked at any of the locations Plaintiff and the opt-in Plaintiffs

worked or trained. That is, the stores located in the following markets: Atlanta,

Georgia; Dunwoody, Georgia; Pittsburgh, Pennsylvania; Jacksonville, Florida;

Irvine, California; Detroit, Michigan.

      5.     Defendants pay or paid FLSA Collective members a reduced tipped

minimum wage rate, plus tips. Defendants subject(ed) Plaintiff and the FLSA

Collective members to the same illegal practice and policy by forcing them to

participate in a tip pool contribution plan that includes non-traditionally tipped

employees.

      6.     Defendants also required Plaintiff and the FLSA Collective members

to perform non-tipped work at the tipped minimum wage rate, thereby causing

Plaintiff and the FLSA Collective members to be paid less than the required

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minimum wage.

      7.     As a result, Plaintiff and all FLSA Collective members are not or were

not guaranteed at least the full minimum wage for all hours worked.

      8.     Simply put, all class members are owed full and proper payment of

minimum wages, improperly withheld tips, and the right to participate in this

litigation. Defendant has acted or refused to act on common grounds applicable to

the class members thereby making the identical relief appropriate with respect to

their current and former class members as a whole. Moreover, the common questions

of law and fact predominate over any questions affecting only Plaintiff, and a

collective action is superior to other available methods for the fair and equitable

adjudication of the controversies between the representatives described above and

the named Defendant. And although the class of current and former class members

is identified and certain, the individual members of the class cannot be completely

identified and notified of their right to join this action absent access to Defendant’s

records.

      WHEREFORE, Plaintiff respectfully requests that this Court grant

Plaintiff’s request for Court authorization to provide that: (1) Defendant produce to

Plaintiff a list of all similarly situated class members within the last three years; (2)

the proposed “Notification” letter, attached as Exhibit “A”, to be sent to all similarly

situated employees nationwide; and (3) the proposed “Notice of Consent to Join”

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form, attached as Exhibit “B”, which similarly situated employees can complete,

sign, and file with the Court.

                             MEMORANDUM OF LAW

    I.     DEFENDANT’S RELEVANT OPERATIONS

         Defendant, Fogo De Chao Churrascaria, LLC (“Fogo”), collectively owns and

operates forty-six, (46) “Fogo De Chao” steakhouse restaurants throughout the

United States. See Ex. C1, Deposition of Richard Lenderman, Defendant’s Rule

30(b)(6) Corporate Representative, at p. 23:25. Fogo has a centralized corporate

structure that handles accounting, payroll, shared services, supply chain, and human

resources for all 46 restaurants located in their corporate office in Plano, Texas. Id.

at 13:3-10, 15:20-25, 18:14-17.

         Each of the restaurants is structured as its own entity, id. at 34, but all Fogo

restaurants follow the same centralized policies, provide the same employee

handbook, training manuals and job descriptions to all restaurants and employees

across all forty-six Fogo locations that originate from Defendant’s corporate office.

Id. at 24:12–24, 25:3–14. Defendant uses the same payroll company for all of its

stores and each store is under the same insurance policy. Id. at 33–34. Each of

Defendants’ restaurants maintain general managers, assistant managers, sales


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  The deposition of Richard Lenderman, acting as Defendant’s corporate
representative, was taken on November 9, 2021. All citations will reference the
relevant page.
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managers, customer service representatives, kitchen support teams, and front of the

house employees such as bartenders, servers, churrasqueiros/carvers, and market

table attendants. Id. at 27:7–24. Ultimately, each of the restaurants takes its policy

directions from Defendant’s corporate entity to ensure consistency across all stores

and to operate in a uniform manner. Id. at 30, 34.

  II.    PLAINTIFF AND THE CLASS MEMBERS ARE SIMILARLY
         SITUATED

        Plaintiff Christian Garcia-Alvarez was employed by Defendant as a

churrasqueiro. Ex. D, Garcia Dep. at 10. In the Fogo restaurants, a churrasqueiro is

also known as a “gaucho chef.” Corp. Rep. Dep. at 40. A churrasqueiro is a position

employed in each of Defendants’ locations and is considered tip-eligible. Corp. Rep.

Dep. at 54–55. Garcia worked for Defendant, at various times from 2015 until the

end of his employment in 2020, at five (5) of Defendant’s locations (Puerto Rico;

Atlanta, Georgia; Dunwoody, Georgia; Pittsburgh, Pennsylvania; and Jacksonville,

Florida). Garcia Dep. at 10. Garcia also trained employees when Defendant opened

new stores around the country, including in Irvine, California and Detroit, Michigan.

Garcia Dep. at 12. Opt-in Plaintiffs Axel Torres Nieves and Jose Mendez-Ortiz were

also employed as churrasqueiros. Nieves work in the Atlanta location and Mendez-

Ortiz worked in Defendant’s Puerto Rico, Atlanta, and Jacksonville restaurants. Ex.

E, Nieves Dep. at 10; Ex. F, Mendez-Ortiz Dep. at 28.


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        A.     Churrasqueiros have the same job duties nationwide, including
               pre-shift non-tipped work.

      Churrasqueiros have the same job duties at each of Defendant’s restaurants.

Corp. Rep. Dep. at 41. These employees butcher, skewer, season, cook, and serve

meat table side to Defendant’s customers. Corp. Rep. Dep. at 73; Ex. G, Ex. 23 to

Garcia Dep. (Job Description). At times, cutting meat during a shift could take an

hour at a time. Nieves Dep. at 33. At other times, churrasqueiros must attend to the

charcoal used to cook meat and clean the kitchen during their shift. Nieves Dep. at

12.

      Churrasqueiros’ job duties also included significant pre-shift work (i.e.,

before customers arrive), including butchering meat, cleaning, and placing charcoal.

Garcia Dep. 83–84 Nieves Dep. at 11–12; Mendez-Ortiz Dep. at 37–38. This pre-

shift work required churrasqueiros to come into work one to three hours before a

shift started to prepare for the shift. Garcia Dep. 83–84 Nieves Dep. at 11–12;

Mendez-Ortiz Dep. at 37–38. When performing pre-shift work, churrasqueiros

would clock in using the churrasqueiro job code, as opposed to one of the non-tipped

employee job codes. Id. This means that when churrasqueiros perform pre-shift

work, they do so at the tipped rate but without making any tips for that work.

        B.     Churrasqueiros are all paid in the same unlawful manner.

      At each of Defendant’s restaurants where permitted, churrasqueiros are paid


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the tipped minimum wage and Defendant takes a tip credit. Corp. Rep. Dep. at 44.

In other words, the only locations in the United States where churrasqueiros are not

paid in this manner is in states that do not recognize a tip credit. Id. In those locations

that use the tip credit, churrasqueiros also participate in a tip pooling arrangement,

whereby a portion of the tips they receive go into a pool that is divided among all tip

pool participants. Corp. Rep. Dep. at 52; Garcia Dep. 10; Nieves Dep. at 32;

Mendez-Ortiz Dep. at 13. According to Defendant’s policies, the employees who are

supposed to participate in the tip pool are servers, bartenders, bussers, customer

service representatives, and churrasqueiros. Corp. Rep. Dep. at 54–55. In practice,

non-tipped employees (such as kitchen staff) also take part in the tip pool. Garcia

Dep. at 8, 10; Nieves Dep. at 35–36.

         C.     Customer Service Representatives nationwide have the same job
                duties and illegally participate in the tip pool.

       Customer Service Representatives at each of Defendant’s restaurants have the

same job duties. Corp. Rep. Dep. at 77 and Ex. 5 to Corp. Rep. Dep. Customer

Service Representatives walk through the restaurant speaking to customers at their

tables to ensure that the customers are having a positive experience. Corp. Rep. Dep.

at 79–80. If there is something a customer needs and cannot find his or her server,

the customer can ask a Customer Service Representative. Id. at 80. Customer Service

Representatives may also assist in serving a dessert or pouring wine for a customer.


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Id. at 79. Customer Service Representatives are not paid pursuant to the tip credit

and are typically paid between $12 to $15 per hour, depending on the market, and

take part in the tip pool. Id. at 94.

       Customer Service Representatives also take inventory of wine and verify that

the dining room meets Defendant’s dining standards. Id. at 83. They also respond to

customer complaints and attempt to resolve them. Id. Because of this added

responsibility, Customer Service Representatives are typically individuals who have

been promoted from a churrasqueiro or server role. Id. at 83–84. Customer Service

Representatives also attend manager meetings, as well as business and networking

meetings as requested. Corp. Rep. Dep. at 86.

       Here, Defendant utilizes policies that deprive Plaintiff and the Collective

Based of the minimum wage in two ways: (1) Defendant requires churrasqueiros to

participate in invalid tip pools that include non-tipped employees such as Customer

Service Representatives and employees who do not customarily and regularly

receive tips; and (2) Defendant requires churrasqueiros to perform non-tipped work,

more than 20 percent of the time, prior and during their shifts, but illegally pays them

at the tipped minimum wage rate. Fair Labor Standards Act § 3, 29 U.S.C.A. §

203(t); 29 C.F.R. § 531.56(e); Marsh v. J. Alexander's LLC, 905 F.3d 610, 620 n.7

(9th Cir. 2018).




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         Based upon Defendant’s use of unlawful pay policies, Plaintiff seeks this

Court’s authorization to facilitate notice to each employee who worked for

Defendant as a churrasqueiro within the last three years. Plaintiff further requests

that he be permitted to give such notice as approved by this Court to all such class

members of their rights to opt-in to this litigation by executing an appropriate

consent as required by Section 216(b) of the FLSA.

  III.    APPLICABLE STANDARDS FOR COLLECTIVE ACTIONS

          A.     General Principles

         FLSA Rule 216(b) collective actions operate much differently than typical

class action suits under Rule 23 of the Federal Rules of Civil Procedure. Under 29

U.S.C. § 216(b) of the FLSA, an employee belonging to a similarly situated class of

plaintiffs must “opt-in” to the class by filing a written consent with the Court to be

bound by the outcome of the case. Without signing and filing such an express

consent, employees are not bound by the outcome of the litigation. See id. This is

just the exact opposite of traditional Rule 23 class actions in which a Plaintiff

initiating a class action automatically represents every member of the class that has

not expressly “opted-out.”

         In Hoffman-La Roche, Inc. v. Sperling, 492 U.S. 165 (1989), the Court ruled

that not only did trial courts have authority to compel defendant-employers to

provide names and addresses of potential plaintiffs through the pretrial discovery

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process, but that this authority also included sending court-authorized consent forms

to potential plaintiffs. See id. There, the Court addressed the issue of whether the

district court may play any role on prescribing the terms and conditions of

communication from the named plaintiffs to the potential members of the class on

whose behalf the collective action has been brought. See id. The Court determined

that district courts have discretion in appropriate cases to implement 29 U.S.C.

§216(b), by facilitating notice to potential plaintiffs. See id at 486. This authority

arises from the Court’s broad discretionary power to manage the process of joining

multiple parties in an orderly manner. See id.

      Trial court involvement in the notice process is inevitable in cases with

numerous plaintiffs where written consent is required by statute. Thus, it lies within

the discretion of the trial court to begin its involvement early, at the point of the

initial notice, rather than at some later time. Id. Court authorization of notice serves

the legitimate goal of avoiding a multiplicity of duplicative suits and setting cutoff

dates to expedite disposition of the action. Id. at 487. Additionally, the benefits of

the class action provisions of 29 U.S.C. §216(b), “depend on employees receiving

accurate and timely notice concerning the pendency of the collective action so they

can make informed decisions about whether to participate.” Id. at 486.

        B.     The Fifth Circuit’s Swales Decision.

      The Fifth Circuit recently announced a new standard to collective actions to

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determine whether notice to putative class members is appropriate. See Swales v.

KLLM Transport Service, LLC, 985 F.3d 430 (5th Cir. 2021). In Swales, the Fifth

Circuit stated that the district court’s job in putative collective action cases simply is

to determine if class members are “similarly situated.” Fifth Circuit said that “a

district court ... identify, at the outset of the case, what facts and legal considerations

will be material to determining whether a group of employees is similarly

situated.” Id. (quotations omitted). Then, a district court “should authorize

preliminary discovery accordingly.” Id. “The amount of discovery necessary to

make that determination will vary case by case, but the initial determination must be

made, and as early as possible.” Id.

       After ordering the amount of discovery that it deems necessary, the district

court must then determine whether the “merits questions” it identified at the outset

can be answered on a collective basis. See id. at 442–43. That is, the district court

must decide whether the employees are “similarly situated,” therefore making

collective adjudication of their claims against the defendant appropriate. See id. “If

answering [these merits] question[s] requires a highly individualized inquiry into

each potential opt-in's circumstances, the collective action would quickly devolve

into a cacophony of individual actions,” rendering certification of the proposed

collective inappropriate. Id. at 442.




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        C.     Plaintiff can meet the Swales standard because churrasqueiros
               are similarly situated nationwide based on their job duties and
               Defendant’s invalid tip pooling arrangement.

      Plaintiff here can meet the Swales standard. Plaintiff has demonstrated that

he, the Opt-in Plaintiffs, and the putative class are “similarly situated” because: (a)

they were all employed as churrasqueiros; (b) they all performed the same or

substantially similar job duties; (c) they were all paid in a similar manner (pursuant

to the tip credit); (d) they were all subjected to the same uniform timekeeping and

pay policies at issue; and (e) they are all owed compensation as a result of the

Defendant’s use of an invalid tip pool.

      The claims here can be, and should be, resolved on a collective basis, and

therefore, Plaintiff has more than satisfied his burden to facilitate notice. Here,

Defendant employed thousands of similarly situated class members during different

times over the last three years. These class members were all paid in the same

manner: at the tipped hourly wage, receiving tips, and participating in a tip pool. The

tip pool at each of Defendant’s locations included Customer Service Representatives

– a position that does not customarily and regularly receive tips – as well as non-

tipped kitchen staff. These invalid tip pools resulted in Plaintiff and the other class

members (1) receiving less than minimum wage and (2) being required to give up

tips that should belong to Plaintiff and the other class members.




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        D.      Churrasqueiros are similarly situated in that they perform pre-
                shift, non-tipped work at the tipped rate.

      Furthermore, Plaintiff and the Opt-In Plaintiffs testified to the fact that they

all conducted extensive pre-shift work and were paid only the tipped hourly rate.

This includes butchering meat, cleaning, and placing charcoal. Garcia Dep. 83–84

Nieves Dep. at 11–12; Mendez-Ortiz Dep. at 37–38. In fact, non-tipped work is

listed in the churrasqueiros’ job description created by Defendant, and includes

butchering, trimming, seasoning, skewering, and cooking meat; checking

temperatures of meat and marinades; maintained clean and sanitary work stations,

wiping down counters, and utensils, and other kitchen equipment. Ex. G (Job

Description).

      When performing this work, churrasqueiros would clock in using the

churrasqueiro job code, as opposed to another job code that received at least the full

minimum wage. Id. However, this work was performed prior to any customers being

present in the restaurants and without receiving tips. Garcia Dep. 83–84 Nieves Dep.

at 11–12; Mendez-Ortiz Dep. at 37–38. As a result, Defendant has failed to pay

Plaintiff, the opt-in Plaintiffs, and the members of the class the appropriate minimum

wage for all hours worked and Plaintiff’s motion should be granted.




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        E.     Numerous Courts Have Granted Collective Actions in Similar
               Cases

      Applicable FLSA jurisprudence demonstrates precedence for conditional

certification of collective actions based on an employer’s use of an invalid tip pool.

See Lopez-Gonzales v. Ramos, 2021 WL 3192171 (N.D. Tex.) (granting plaintiff’s

motion for certification of collective action involving tip pooling allegations under

Swales standard); Anderson v. Southern Premium Hospitality Group, LLC, 2014 WL

3615353 (S.D. Tex.) (granting conditional certification in tip pooling case); Torres

v. Cache Cache, LTD, 2012 WL 6652856 (D. Colo) (granting certification in case

alleging violations of FLSA due to invalid tip pool); Miller v. Garibaldi’s, Inc., Case

No. CV414-007 (S.D. Ga Mar. 13, 2015) (granting plaintiff’s motion for conditional

certification in case involving tip pooling allegations); Williams v. Omainsky, 2016

U.S. Dist. LEXIS 7419 (S.D. Ala. Jan. 21, 2016) (granting plaintiff’s motion for

conditional certification involving tip pooling allegations).

      Plaintiff has submitted substantial evidence in support of his Motion. Based

upon a review of the deposition of Plaintiff and the other opt-in Plaintiffs and the

testimony from Defendant’s own representative, specific facts based on personal

observation have been provided to support their belief that there was a companywide

policy that affected all of the putative class members and that other employees are

interested in opting in. In addition, allowing class notification to a potential class as


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large as several thousand plus class members will definitely avoid multiple lawsuits

where numerous employees have allegedly been harmed by the same violation. See,

Hoffman-LaRoche, 493 U.S. at 470 (“The judicial system benefits by efficient

resolution in one proceeding of common issues of law and fact arising from the same

alleged discriminatory activity.”).

        F.     Number of Opt-In Plaintiffs Required

      In determining whether to grant a Motion for Class Notice, typically Courts

do not require a high number of Opt-in Plaintiffs to have already joined the case. See

Crain, 1992 WL 91946 at FN5, supra (noting that only five (5) opt-in Plaintiffs had

joined the FLSA class at the time of the motion); See also Ackley v. City of Fort

Lauderdale, Case No.:07-cv-60960, at Doc. 45(S.D.Fla. Jan., 24, 2008)(Granting

Motion for Class Notice with Plaintiff and two (2) Opt-in Plaintiffs); See e.g.,

Dietrich v. Liberty Square, 230 F.R.D. 574, 579 (N.D. Iowa 2005)(two (2) affidavits

provide sufficient factual basis for similarly situated inquiry); See also Beck v.

Desoto Health and Rehab, case No.: 2:06-CV-226-FTM-34DNF, at Docs. 23, 34

(M.D. Fla. Jan. 24, 2007)(Granting Class Notice Motion with only one (1) opt-in);

See also Titre v. Platinum Partners,LLC et al., Case Number: 0:08-cv-61254 at Doc.

42 (S.D. Fla. Oct. 16, 2008) (Granting Class Notice with eleven (11) Opt-ins); Larry

Guerra v. Big Johnson Concrete Pumping, Inc., CASE NO.: 05-14237 (S.D. Fla.

May 17, 2006)(Granting Class Notice Motion where there was only one (1) Opt-in

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Plaintiff); Davis v. Precise Communications, Inc., 2009 WL 812276 (N.D.Ga.

March 27, 2009)(Granting Class Notice Motion with only three (3) opt-in

Plaintiffs).

       Those who have opted into the case to date are: (1) Axel Torres Nieves, (2)

Jose Mendez-Ortiz, and (3) Hugo Guzman. Based upon the discovery taken so far,

Plaintiff has more than satisfied the applicable burden of persuasion that a colorable

basis exists for determining that others similarly situated to Plaintiff exist. Here, a

collective action (as they are termed under the FLSA) is sought as the Defendant has

acted or refused to act on grounds generally applicable to the class members, thereby

making appropriate the same relief with respect to the class as a whole. Thus, a

collective action is superior to other available methods for the fair and efficient

adjudication of this controversy.

         IV.   PROPOSED REGION FOR NOTICE

       Plaintiff proposes that the Court-supervised notification include any

churrasqueiros who worked at any of Defendant’s locations nationwide, who were

paid utilizing the tip credit and/or participated in a tip pool. Based upon this record,

Plaintiff has demonstrated that the class members at issue in the instant case are

“similarly situated” because they: (1) were paid in the same manner; (2) had the

same or substantially similar job duties; (3) were paid in the same manner; (4) were

required to participate in a tip pool that included non-tipped employees; and (5)

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performed non-tipped work for which they were paid only at the tipped minimum

wage rate.

      While Plaintiff believes nationwide certification is appropriate here, if the

Court finds otherwise, Plaintiff proposes that the Court certify a class of

churrasqueiros who worked at any of the locations Plaintiff and the opt-in Plaintiffs

worked or trained. That is, the stores located in the following markets: Atlanta,

Georgia; Dunwoody, Georgia; Pittsburgh, Pennsylvania; Jacksonville, Florida;

Irvine, California; Detroit, Michigan. Based on the record evidence, Plaintiff and the

opt-in Plaintiffs have direct knowledge of the operations in each of these locations

based on their personal experience. Moreover, at least one other district court has

taken a similar approach. See Lopez-Gonzales v. Ramos, 2021 WL 3192171, at *4–

5 (N.D. Tex.) (granting plaintiff’s motion for certification of collective action

involving tip pooling allegations under Swales standard for location where Plaintiff

worked).

      V. THE “MERITS” OF PLAINTIFF’S CLAIM ARE NOT
         CONSIDERED WHEN DETERMINING WHETHER TO GRANT
         NOTICE

      Plaintiff anticipates Defendant will contend that notice should not proceed

based upon the only possible defense it may have to this action: that Defendant’s tip

pools are valid, that Plaintiff and the class were properly compensated using the tip

credit method of calculation, and that Plaintiff did not perform pre-shift work for

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which he was not properly compensated. Under Swales, the court need only

determine if the merits of this case can, and should, be resolved collectively. 985

F.3d at 442–43.

      Although Plaintiff believes these defenses will ultimately fail based upon the

additional facts that will emerge during discovery, such an argument regarding the

factual nature of Plaintiff’s claims and Defendant’s defenses thereto are irrelevant at

this stage of the notification process. Thus, setting Defendant’s anticipated

factual/legal arguments aside for purposes of the instant Motion, Plaintiff clearly has

met his burden of proof on the “similarly situated” prong.

      VI.    PLAINTIFF’S NOTICE IS ACCURATE AND SHOULD BE
             POSTED AT ALL OF DEFENDANT’S LOCATIONS
             NATIONWIDE

      Plaintiff’s proposed judicial notice is “timely, accurate, and informative.” See

Hoffmann- La Roche, 493 U.S. at 172. As such, the proposed notice achieves the

ultimate goal of providing employees accurate and timely notice concerning the

pendency of the collective action, and should be adopted and notice sent nationwide.

That the plaintiffs and the potential claimants may have worked in different areas of

the country and at different restaurants, is not dispositive. See Crain et al. v.

Helmerich and Payne Int’l Drilling Co, 1992 WL 91946, at *3 (E.D. La). That is

because Plaintiff and the class members held the same job and performed the same

job duties at each of Defendant’s stores and operated under the same policies.

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      Plaintiff also requests that in addition to permitting Plaintiff to notify the

potential class members by mail, this notice be posted at each of Defendant’s

locations at which the class members are employed to further the broad remedial

purpose of the FLSA. See Johnson v. Am. Airlines, Inc., 531 F. Supp. 957, 961 (N.D.

Tex. 1982) (finding direct mail and posting on company bulletin boards reasonable);

Romero v. Producers Dairy Foods, Inc., 235 F.R.D. 474, 493 (E. D. Cal. 2006)

(finding that first class mail, combined with posting provided for the “best notice

practicable” to the potential class); Veliz v. Cintas Corp., 2004 WL 2623909, at *2

(N.D. Cal. 2004) (requiring employer to post notice and consent forms in all of its

work sites).

  VII. DISCOVERY OF NAMES AND ADDRESSES OF THE PUTATIVE
       CLASS IS NECESSARY TO CARRY OUT NOTICE

      The opt-in provision of the FLSA requires some procedure for identifying and

notifying potential class members. See Morden v. T-Mobile USA, Inc., 2006 WL

1727987, *3 (W. D. Wash. 2006) (compelling the defendant to produce the names

and addresses of potentially similarly situated employees despite the fact that no

conditional class certification motion was pending before the court). “The first step

is to identify those employees who may be similarly situated and who may therefore

ultimately seek to opt into the action.” Id. As such, early discovery of a mailing list

is routinely disclosed in FLSA collective actions because the lists are necessary to

facilitate notice. See Hoffmann-La Roche, 493 U.S. at 165; see also, Dietrich v.
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Liberty Square, 230 F.R.D. 574, 581 (N.D. Iowa 2005); Gieseke v. First Horizon

Home Loan Corp., 408 F. Supp. 2d 1164, 1169 (D. Kan. 2006)2 Thus, if this Court

grants Plaintiff’s Motion, the Court should likewise order Defendant to provide

Plaintiff with a list of all putative class members’ names and addresses to carry out

notice.

    VIII. NOTICE SHOULD BE GIVEN WITHIN A THREE-YEAR
          STATUTE OF LIMITATIONS

       Notice within a three-year statute of limitations period is appropriate in this

case. The FLSA allows plaintiffs to collect damages within a three-year statute of

limitations if they can show that a defendant's violation of the FLSA was “willful”

– meaning the “employer either knew or showed reckless disregard for the matter of

whether its conduct was prohibited by the statute.” McLaughlin v. Richland Shoe

Co., 486 U.S. 128, 133 (1988). Whether Defendant's violations of the FLSA here

were willful is an issue going to the merits of the case and not whether notice should

be issued to potential claimants. See Villatoro v. Kim Son Restaurant, L.P., 286



2
  The names and addresses of potential class members are discoverable during the
regular course of discovery even absent judicial notice because current and former
class members are critical fact witnesses to this lawsuit. Hoffmann-La Roche
acknowledged the existence of “alternative bases for the discovery, for instance that
the employees might have knowledge of other discoverable matter.” 493 U.S. at 160;
see also Barton v. The Pantry, Inc., 2006 WL 2568462 (M.D.N.C. 2006) (ordering
defendant to produce a list of plaintiffs’ co-workers prior to conditional
certification).

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F.Supp.2d 807, 811 (S.D. Tex. 2003).

      The facts concerning willfulness must be elicited during discovery, and

Defendant may challenge the three-year statute of limitations again at an appropriate

time. Thus, notice should go to all individuals who were employed by Defendant

during the three-year period preceding the Court’s ruling on the instant Motion. See

Resendiz-Ramirez v. P & H Forestry, LLC, 515 F. Supp. 2d 937 (W.D. Ark. 2007);

Simpkins v. Pulte Home Corp., 2008 WL 3927275 at p. 9 (M.D.Fla. 2008) (the

determination whether that standard is met in this case is fact determinative and will

not be made at the conditional certification stage). In addition, Plaintiff has

sufficiently alleged in its Complaint that a willful violation has occurred to warrant

reference to the FLSA's three-year statute of limitations. See Longcrier v. HL-A Co.,

Inc., 595 F.Supp.2d 1218, 1242 (S.D.Ala.2008) (approving the inclusion of a three-

year statute of limitations in a court-facilitated notice when the plaintiffs adequately

alleged willfulness); See also Cryer v. Intersolutions, Inc., No. 06-2032, 2007 WL

1053214, at *3 (D.D.C. Apr. 7, 2007) (same).

        IX.    CONCLUSION

      A primary reason for certifying an FLSA collective action is to ensure the

joining of the other parties occurs in an “orderly, sensible, …efficient and proper

way.” Hoffman-La Roche, 493 U.S. at 170-71. Here, Plaintiff has demonstrated

through copious and competent evidence that the “orderly, sensible…. efficient and

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proper way” to address the similar claims of the similarly situated class members is

through an FLSA collective action.

      WHEREFORE, Plaintiff respectfully requests that this Court issue an Order:

        (i) conditionally certifying a class of current and former class members that
        includes “All carvers (churrasqueiros) who worked for Defendants
        nationwide and were paid pursuant to the “tip credit” (less than minimum
        wage plus tips) during the last three (3) years preceding this lawsuit”, or
        alternatively, all churrasqueiros who worked for Defendants in Atlanta,
        Georgia; Dunwoody, Georgia; Pittsburgh, Pennsylvania; Jacksonville,
        Florida; Irvine, California; Detroit, Michigan; and were paid pursuant to the
        “tip credit” (less than minimum wage plus tips) during the last three (3)
        years preceding this lawsuit

        (ii) directing Defendant to produce, in an electronic readable format, to
        undersigned counsel within fourteen (14) days of the Order granting this
        Motion a list containing the names, the last known addresses, and e-mail
        addresses3 of putative class members who worked for Defendant within
        the last three years;

        (iii) authorizing undersigned counsel to send notice, in the form attached
        hereto as Exhibit A, to all individuals whose names appear on the list
        produced by Defendants’ counsel by first-class mail and e-mail;

        (iv) providing all individuals whose names appear on the list produced by
        Defendant’s counsel with forty-five days (45) days from the date the
        notices are initially mailed to file a Consent to Become Opt-In Plaintiff, in
        the form attached hereto as Exhibit B; and

        (v) any other relief that is just and appropriate.




3
 See Denney v. Lester's, LLC, 2012 WL 3854466 (E.D.Mo. 2012) (fair and proper
notice will be accomplished by regular mail, electronic mail, and postings in
Defendants' break rooms); see also O'Donnell v. Sw. Bell Yellow Pages, Inc., No.
4:11CV1107, 2012 WL 1802336, at *4 (E.D.Mo. May 17, 2012).
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      Respectfully submitted this the 8th day of December 2021.


                                         /s/ Carlos V. Leach
                                         Carlos V. Leach, Esq.
 THE LEACH FIRM, P.A.                    FL Bar No. 0540021
 631 S. Orlando Avenue, Suite 300        cleach@theleachfirm.com
 Winter Park, FL 32789
 Telephone: 407-574-4999, Ext. 403
 Facsimile: 833-423-5864


                                         /s/ Jay Forester
                                         Jay Forester, Esq.
 FORESTER HAYNIE PLLC                    TX Bar No. 24087532
 400 N. St Paul St, Suite 700            jforester@foresterhaynie.com
 Dallas, TX 75201                        Katherine I. Serrano, Esq.
 Telephone: 214-210-2100                 TX Bar No. 24110764
 Facsimile: 469-399-1070                 kserrano@foresterhaynie.com


                                         /s/Noah E. Storch
                                         Noah E. Storch, Esq.
 RICHARD CELLER LEGAL, P.A.              FL Bar No. 0085476
 10368 W. SR 84, Suite 103               noah@floridaovertimelawyer.com
 Davie, FL 33314                         Richard Celler, Esq.
 Telephone: 866-344-9243                 FL Bar No. 0173370
 Facsimile: 954-337-2771                 richard@floridaovertimelawyer.com




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                          CERTIFICATE OF SERVICE

      I hereby certify that I electronically filed the foregoing PLAINTIFF’S

MOTION         FOR   CONDITIONAL           CERTIFICATION           OF    AN       FLSA

COLLECTIVE           ACTION       AND       MEMORANDUM              IN    SUPPORT

CERTIFICATION with the Clerk of Court using the CM/ECF system which will

automatically send e-mail notification to such filing to all counsel of record.

   Paul Scheck, Esq.      Patrick F. Hulla, Esq.     Victoria L. Vish, Esq.
Mary Ruth Houston, Esq. Ogletree, Deakins, Nash, Ogletree, Deakins, Nash,
 Shutts & Bowen LLP      Smoak & Stewart, P.C.     Smoak & Stewart, P.C.
 300 S. Orange Avenue        4520 Main Street       Preston Commons West
       Suite 1600                Suite 400            8117 Preston Road
   Orlando, FL 32801     Kansas City, MO 64111              Suite 500
  pscheck@shutts.com    Patrick.hull@ogletree.com      Dallas, TX 75225
 mhouston@shutts.com                              victoria.vish@ogletree.com


      I also certify that the foregoing has been prepared in a Times New Roman

14-point font, one of the font and point selections approved by the Court in Local

CV-10(a)(5).

      Respectfully submitted this 8th day of December 2021.

                                        /s/ Adeash Lakraj
                                        Adeash Lakraj, Esq. (admitted pro hac vice)
                                        Georgia Bar No. 444848
                                        alakraj@theleachfirm.com




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                   COMPLIANCE WITH LOCAL RULE 7.6

      Pursuant to Local Rule 7.6, Plaintiff’s counsel certifies that he has contacted

Defendants’ counsel in a good faith effort to resolve the issues raised by this Motion,

and Defendant opposes the motion but has not given any reason for its opposition.

      Dated this 8th day of December 2021.

                                        /s/ Adeash Lakraj
                                        Adeash Lakraj, Esq. (admitted pro hac vice)
                                        Georgia Bar No. 444848
                                        alakraj@theleachfirm.com




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